                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

COMMON CAUSE, et al.,

                                    PLAINTIFFS,

                       v.
                                                                  CIVIL ACTION
                                                           NO. 1:16-CV-1026-WO-JEP
ROBERT A. RUCHO, in his official capacity as
Chairman of the North Carolina Senate
                                                               THREE-JUDGE COURT
Redistricting Committee for the 2016 Extra
Session and Co-Chairman of the Joint Select
Committee on Congressional Redistricting,
et al.,
                               DEFENDANTS.


LEAGUE OF WOMEN VOTERS OF NORTH
CAROLINA, et al.,

                                      PLAINTIFFS,

                        v.
                                                                   CIVIL ACTION
ROBERT A. RUCHO, in his official capacity as                 NO. 1:16-CV-1164-WO-JEP
Chairman of the North Carolina Senate
Redistricting Committee for the 2016 Extra                      THREE JUDGE COURT
Session and Co-Chairman of the 2016 Joint
Select Committee on Congressional
Redistricting, et al.,

                                    DEFENDANTS.

   JOINT PLAINTIFFS’ AND STATE DEFENDANTS’ NOTICE REGARDING
                   SPECIAL MASTER SUBMISSION

       Pursuant to this Court’s instructions on January 9, 2018, ECF 118, Joint Plaintiffs

(Common Cause Plaintiffs and LWV Plaintiffs) and State Defendants notify the Court that the
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parties were unable to agree upon three names of individuals qualified to serve as special master.

Joint Plaintiffs and Legislative Defendants conferred and submitted names to one another (with

Legislative Defendants stating that they did so subject to their objections regarding the propriety

of any order appointing a special master) but were unable to reach agreement on those names.

The State Defendants took no position but indicated a willingness to agree to any names agreed

to by the other parties.

        Respectfully submitted, this 16th day of January, 2018.


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                            CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically filed the foregoing with the
Clerk of Court using the CM/ECF system which will send notification of such filing to all
counsel and parties of record.

      This the 16th day of January, 2018.

                                         /s/ Allison J. Riggs
                                         Allison J. Riggs




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